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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA oiq geil BM O35
INDIANAPOLIS DIVISION

 

 

PAIN CENTER OF SE INDIANA, LLC
INDIANA PAIN MEDICINE AND
REHABILITATION CENTER, P.C. and
ANTHONY ALEXANDER, M.D.,

Plaintiffs,

Cause No.:

4: 13-0133 BLY -DKL

V.

ORIGIN HEALTHCARE SOLUTIONS

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LLC and SSIMED, LLC, )
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Defendants.
COMPLAINT
Comes now the Plaintiffs, Pain Center of SE Indiana, LLC, Indiana Pain Medicine and
Rehabilitation Center, and Anthony Alexander, M.D. in the above-styled cause and files this
Complaint against Origin Healthcare Solutions LLC, successors in interest to SSIMED, LLC,
predecessors. In support of same, the Court is shown as follows:
I. PARTIES
1. Plaintiff Pain Center of SE Indiana, LLC was an Indiana limited liability company
with its principal place of business in Seymour, Indiana.
4. Plaintiff Indiana Pain Medicine and Rehabilitation Center, P.C. is an Indiana
corporation with its principal place of business in Seymour, Indiana.
3. Plaintiff Alexander is a resident of Indiana, residing in Jeffersonville, Indiana.
4, Defendant SSIMED, LLC was a limited liability company with its principal place of

business located at 835 Bloomfield Avenue, Windsor, Connecticut 06095. Upon information

 
 

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and belief, Defendant SSIMED, LLC is a predecessor in interest to Origin Health Care Solutions,
LLC.

5. Defendant Origin Health Care Solutions LLC f/k/a SSIMED, LLC is a limited liability
company with its principal place of business located 835 Bloomfield Avenue, Windsor,
Connecticut 06095.

If. JURISDICTION AND VENUE

6, This Court has subject matter jurisdiction over this Action under 28 U.S.C, §1332.
Plaintiffs are citizens of Indiana and Defendants are citizens of Connecticut. As the amount in
controversy exceeds Seventy-Five Thousand Dollars ($75,000), exclusive of interests and costs,
the Parties are diverse. Plaintiffs seek compensatory damages in excess of Ten Million Dollars
($10,000,000.00), as well as punitive damages. In addition, this Court maintains federal question
jurisdiction pursuant to 28 U.S.C. $1332.

7. Venue is proper as Defendants are foreign corporations organized under the laws of
the State of Delaware with a principal place of business in Windsor, Connecticut. Upon
information and belief, Defendant Origin Health Care Solutions LLC is a successor company to
SSIMED, LLC and may be served with process through its registered agent pursuant to 28 U.S.C.
§1391(b)(2) because a substantial part of the events or omissions giving rise to the claims in this
Action occurred in this judicial district.

8. The Defendants are subject to personal jurisdiction because they are engaged in
substantial and not isolated activities within this State and such jurisdiction does not violate the

Due Process Clause of the Fourteenth Amendment.

 
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Ill. BACKGROUND

A. EHR’s

9. Over the years, the use of Electronic Health Records (EHRs) in the United States has
helped improve patient care by streamlining documentation and workflow. The proliferation of
EHR companies allowed practitioners software that covered many areas of practice management
and clinical tasks including registration, billing, appointment scheduling and collections.

10. On or about February 17, 2009, the President signed into law a $789 Billion Dollar
federal economic stimulus package, formerly known as the American Recovery and
Reinvestment Act (“ARRA”). Within this legislative framework, included the Health
Information Technology for Economic and Clinical Health (““HITECH”) Act. HITECH allocates
$19 Billion Dollars to hospitals and physicians who demonstrate “meaningful use” of electronic
health records (“EHRs”). Congress, in an effort to help improve Americans’ health, increased
safety and privacy in the healthcare industry, and reduce healthcare costs, allowed eligible
professionals using certified EHR technology to qualify for incent payment under the
Medicare/Medicaid EHR Incentive Programs of up to $44,000 under Medicare and $63,750
under Medicaid. In Health Professional Shortage Areas, additional incentives were available.
As a result, the utilization of EHR companies continues to expand.

B. The Origin/SSIMED Defendants

11. Upon information and belief, SSIMED, LLC, a predecessor in interest to Origin
Health Care Solutions LLC, was a limited lability company with its principal place of business
in Windsor, Connecticut. It was established in 1991 as an electronic health record vendor and

provider of physician software and services, claiming to offer software solutions to help make
 

 

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the business end of the medical practice easier, including, inter alia, software for medical claim
coding, patient appointment tracking and medical insurance billing.

12. In essence, SSIMED LLC’s products offered “the promise of efficiency. Speedier
reimbursements. A turn-key approach to rules and __ regulations.” See
www..//healthcare. intuit.cony/portal/press-release/origin-healthcare-solutions-advanced-
functionality.jsp. Upon information and belief, SSIMED, LLC specifically targeted solo private
medical practices, large medical specialty groups, and hospital-based medical practices with the
product, “Practice Manager”, that served as a billing software package which would allow the
processing claims utilizing clinical documentation software. And in 2006, SSIMED, LLC
developed “EMRge”, a clinical data software package, so that together with “Practice Manager” ,
the two packages could work seamlessly together. Ultimately, this software was sold to
customers located in various states.

13. Plaintiffs had originally contracted with SSIMED, LLC which later became Origin
Health Care Solutions LLC. In this Complaint, the Defendants are hereinafter collected referred
to as “Origin”,

14. According to Origin’s website, it serves more than 54,000 providers, which includes
solo private practices, large specialty groups and hospital-based practices. In addition, it claims
it software is “designed to make the business end of their [customers] work easier. From fitting
patients in for follow-up appointments, to making sure claims are coded correctly.” The website
also explains, that after a decade of success in full-service integrated billing, “[C]lients who use
this service get the benefit of our software as well as the tact and professionalism of our staff.”
The software is marketed as being instrumental to increasing physician productivity as well as

being easy to install, simple to use, and very efficient. The website also states the following:

 
 

 

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“High-tech can never replace people when questions, problems or challenges arise. So we’re
still a company that invests countless hours in customer support. Call us during regular hours
and you won’t get a canned cyber-message, you get the right answers from experts who are
friendly and knowledgeable.” _

IV. FACTS COMMON TO ALL COUNTS

15. At all relevant times hereto, Plaintiffs Indiana Pain Medicine and Rehabilitation
Center, P.C., Pain Center of SE Indiana, LLC, and Dr. Anthony Alexander (collectively referred
to as “Plaintiffs”), operated a privately-owned outpatient medical clinic incorporated under the
laws of the State of Indiana with its principal place of business in Seymour, Indiana.

A. Initial Communications (2003)

16. On or about June 2003, Plaintiffs entered into discussions with Origin (f/k/a/
SSIMED LLC) regarding the possible purchase of certified EHR software which would meet
relevant certifications and compatibility with Plaintiffs existing software and hardware.

17. On or about 2003, Origin sales representatives misrepresented to Plaintiffs that
certain costs associated with the implementation and maintenance of its existing package were
substantially higher than similar costs for implementing and maintaining the “SSIMED Practice
Manager Suite: including Practice Manager and Scheduler.” For example, Origin represented
that it would provide a seamless transition to a new software package because it had substantial
experience in anesthesia and pain management billing. Origin represented that it had represented
dozens of interventional pain medicine practices similar to ours and that it had incorporated its
software package without error. Origin represented that none of the other interventional pain
medicine practices had experienced any problems with claims reimbursements and that it would

ensure that if Plaintiffs decided to purchase said software, that due to its expertise and personnel,
 

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it could ensure Plaintiffs would have no such problems either, In reality, the cost to switch to
Origin’s software package was substantially higher. These misrepresentations led to Plaintiffs
purchasing for the Origin software and services.

18. On or about June 2003, Origin sales representatives advised Plaintiffs as to the
alleged capabilities and effectiveness of Origin’s “practice management” software and
demonstrated the software did not possess “glitches” which would result in bills not being
properly submitted to the insurance companies and that due to its support eventually sold to
Plaintiffs, and experience in billing similar practices, it had the capacity to prevent or rectify
reimbursement issues caused by the user or Origin software prior to Plaintiffs incurring losses
and would in fact do so. The representatives misrepresented that Plaintiffs should expect the
same results if they purchased the software and support services.

19, When specifically asked Dr. Alexander whether there had been negative feedback
provided regarding their products, the Origin sales representatives reported they had not
experienced negative feedback regarding their software and/or services.

20. When specifically asked Dr. Alexander, if Origin, through its customer support, had
the capability to quickly promptly diagnose, and correct problems that may interfere with
Plaintiff's billing efforts, it assured that it did and that such support would be included via the
software services and support package Dr. Alexander ultimately purchased.

21. Based on the foregoing willful and wanton recommendations, misrepresentations and
and material omissions, Plaintiffs agreed to abandon its existing software package in favor of the
Origin software entitled “SSIMED Practice Manager Suite: including Practice Manager and

Scheduler” and services thereto.

 
 

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B. Agreement 1 (2003)/Subsequent Failure to Perform

22. Based on the foregoing willful and wanton recommendations, misrepresentations,
materials omissions and fraudulent acts made and committed by Origin’s representatives,
Plaintiffs entered a contract with Origin for the purchase of the SSIMED “Practice Manager
Suite: including Practice Manager and Scheduler” and support services thereto. A true and
correct copy of the first Software SSIMED Licensing Agreement (hereinafter, “Agreement 1’) is
attached to this Complaint and incorporated herein as Exhibit A. The Origin software went “live”
shortly thereafter meaning Plaintiffs begin actively using and incorporating the Origin software
into its ordinary course of business.

23. Pursuant to the Parties’ agreement, Origin insured the successful implementation of
its software by providing, inter alia, the appropriate version of Origin software, adequate training
for its users, a support team to address and guide each stage of implementation as well as resolve
any errors and issues with the Origin software as they arose so that Plaintiffs patient records
would be accurate and complete and billing services would allow for prompt reimbursement
from third party payors including Medicare/Medicaid and various insurance companies. In
addition, Origin represented that based on the M-F 8am-5pm EST availability of its personnel,
any problem that Plaintiffs had with its software would be rectified within 24 hours. If such
problems were not rectified by phone during that time, Origin would send personnel to Plaintiffs’
site within 72 hours to resolve any outstanding issues. Origin failed to perform any of their
obligations in this regard and each of the related representations were untrue, however when
Plaintiff called regarding software related issues, Origin assured that despite its actions, Plaintiffs
reimbursements had been timely processed and no clinical data was lost. Other times, Origin

personnel were completely unavailable.
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24. Shortly after entering this agreement, the software began exhibiting errors such as
displaying incorrect information, displaying faulty recording of patient information, loss of data,
etc,

25. After entering into said agreement, Plaintiffs began noticing that they had not
received reimbursements from either the government or insurance companies despite having
presented claims for payment through the use of Origin’s software.

26. After Plaintiffs contacted Origin inquiring about the discrepancy between bills
submitted and accounts receivable, Origin’s support staff and/or agents indicated that according
to their records, and system tests, the problems experienced by Plaintiffs in this regard had
nothing to do with its software or services; or interface with the exchange, thereby fraudulently
concealing the defects in its software and services. Origin also reiterated that such discrepancies
were not the result of any failures by the Plaintiffs including the failure to seek and/or obtain the
necessary on-site support, hardware services or support, non-standard upgrades/custom
programming, networking, or operating system support, enter the correct codes, but rather the
insurance companies decision to decline the submitted bills. Furthermore, Origin represented that
claims that were never presented to the insurance companies had been declined. For example,
Plaintiffs submitted claims for a patient seen on 3/3/04 and 3/11/04 and Origin software reflected
a “successful” transaction even when this was not the case and Origin personnel represented this
indicated the claims had been properly presented to third party payors. Plaintiffs did reasonably
rely on these representations to their detriment.

27. As aresult of Origin’s representations, software and services, Plaintiffs’ employees
continued to “resubmit” bills that were never presented to the insurance companies or third party

payors.
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28. As a result of Origin’s representations, software, and services, Plaintiffs engaged in a
~ vicious cycle of borrowing from banks and friends to cover financial shortfalls that should have
been taken care of by income generated by the corporation as well as loose personnel.

29. Problems with Origin’s products and services were exacerbated by inadequate
training of employees and other intended users of the Origin software as the relevant Origin
employees lacked sufficient experience or knowledge to provide the necessary training or
address the problems encountered throughout Plaintiffs use of the software, however, Plaintiffs
were misled to believe the software and their services were not the cause of Plaintiffs damages
and that the training provided to Origin personnel as well as Plaintiffs was indeed sufficient.

30. Plaintiffs were forced to turn their attention away from the primary goal of seeing
patients in order to focus on the damages, unknown at the time, caused by Origin’s failure to
perform according to their agreement, which also resulted in Plaintiffs experiencing both
economic and non-economic losses, including physical and emotional distress.

C. Communications Prior to Agreement IT (2006)

31. On or about November 2006, Origin engaged Plaintiffs into discussions regarding
purchasing additional software and services. Plaintiffs entered into further discussions with
Origin regarding the possible purchase of certified EHR software which would serve as a
tremendous upgrade to Plaintiffs’ existing software and hardware.

32. On or about November 2006, Origin represented to Plaintiffs that its product
“EMRge” was a revolutionary product that would again allow for expedient billing
reimbursement and patient record management as well as an upgrade to Plaintiffs current system
when coupled with the billing software. Specifically, Origin represented that “EMRge” was

specifically designed to work well with “Practice Manager” and had been extensively tested in

 
 

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this regard by many other interventional pain medicine practices, while admitting to Plaintiffs
that it had experienced those earlier problems due to the fact that it was using a different clinical
data software; thus by utilizing “EMRge”, this problem would be eliminated. Furthermore,
Origin indicated that if Plaintiffs did not switch to “EMRge” that “Practice Manager” would not
function as efficiently, however, Origin assured that all of the previous claims had been properly
submitted to third parties as opposed to rejected by the exchange system. These
misrepresentations eventually led to Plaintiffs subsequently purchasing for the additional
software “EMRge” and monthly support services thereto.

33. On or about November 2006, Origin represented at Plaintiffs principal place of
business, the alleged capabilities and effectiveness of Origin’s practice management software
and attested that this latest software package did not possess “glitches” which would result in
bills not being properly submitted to the insurance companies. The representatives
misrepresented that Plaintiffs should expect the same results, and even if such problems were to
occur, due to the support services eventually sold to Plaintiffs, and experience dealing with
similar practices, it had the capacity to timely prevent and/or rectify such problems whether such
were caused by user error or software malfunctioning for reimbursement purposes and would in
fact do so.

34, When specifically asked by Dr. Alexander whether there had been negative feedback
provided regarding the combination of “EMRge” and “Practice Manager”, the Origin sales
representatives reported they had not experienced negative feedback regarding thei software
and/or services.

35. When specifically asked by Dr. Alexander, if Origin, through its customer support,

had the capability to quickly promptly diagnose, and correct problems that may interfere with

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Plaintiff's billing efforts, it assured that it did and that such support would be included via the
software services and support package Dr. Alexander ultimately purchased. Origin also
represented that it built “EMRge”, although upon information and belief, it only licensed EMRge.

36. Based on the foregoing willful and wanton recommendations, misrepresentations,
and material omissions, Plaintiffs did reasonably rely on these representations to their detriment
when they purchased such additional Origin software and support services entitled “SSIMED
EMRge”.

D. Agreement II (2006)/Subsequent Failure to Perform

37. Based on the foregoing willful and wantonrecommendations, misrepresentations,
material omissions and fraudulent acts made and committed by Origin’s representatives,
Plaintiffs entered a second contract (Agreement II) with Origin on or around November 2006 for
the purchase of the SSIMED “EMRge” and support services thereto. A true and correct copy of
the first Software SSIMED Licensing Agreement (hereinafter Agreement IT) is attached to this
Complaint and incorporated herein as Exhibit A. The Origin software “EMRge” went “live”
shortly thereafter, meaning Plaintiffs begin actively using and incorporating the Origin software
into its ordinary course of business.

38. Pursuant to the Parties’ new agreement, Origin again insured the successful
implementation of its software by providing, inter alia, the appropriate version of Origin
software consistently, adequate training for its users, accurate billing sheets, a support team to
address and guide each stage of implementation as well as resolve any errors and issues with the
Origin software as they arose so that Plaintiffs patient records would be accurate and complete
and billing services would allow for prompt reimbursement from third party payors including

Medicare/Medicaid and various insurance companies. In addition, Origin represented that based

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on the M-F 8am-Spm EST availability of its personnel, any problem that Plaintiffs had with its
software would be rectified within 24 hours. If such problems were not rectified by phone
during that time, Origin would send personnel to Plaintiffs’ site within 72 hours to resolve any
outstanding issues. Origin failed to perform any of their obligations in this regard and each of
the related representations were untrue, however when Plaintiff called regarding software related
issues, Origin assured that despite its actions, Plaintiffs reimbursements had been timely
processed and no clinical data was lost. Other times, Origin personnel were completely
unavailable.

39. Shortly after entering this agreement, the software began exhibiting an increased
frequency of errors with respect to displaying incorrect information, displaying faulty recording
of patient information, and loss of data etc. The software programs were never updated on a
consistent basis as promised, and when the software was updated it would cause the system to
crash. The billing sheets were never corrected as promised either and contained many out-of-date
billing codes despite Plaintiffs’ request to correct such. When patient files were saved, there
would be periods the data was lost. Noticeably, the software problems were exacerbated by the
integration of “EMRge” and “Practice Manager”.

40. After entering into said agreement, Plaintiffs began noticing that they had not
received reimbursements from either the government or insurance companies despite having
presented claims for payment through the use of Origin’s software.

41. Unbeknownst to Plaintiffs, Origin had represented certain components of the
software existed that did not.

42, After Plaintiffs contacted Origin inquiring about the discrepancy between bills

submitted and accounts receivable, Origin’s support staff and/or agents indicated that according

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to their records, and system tests, the problems experienced by Plaintiffs in this regard had
nothing to do with its software or services; or interface with the exchange, thereby fraudulently
concealing the defects in its software and services. Origin also reiterated that such discrepancies
were not the result of any failures by the Plaintiffs including the failure to seek and/or obtain the
necessary on-site support, hardware services or support, non-standard upgrades/custom
programming, networking, or operating system support, nor user error, but rather the insurance
companies decision to decline the submitted bills. Furthermore, Origin represented that claims
that were never presented to the insurance companies had been declined by such companies. For
example, Plaintiffs submitted claims for a patient seen on 3/1/2012 and 6/14/2012 and Origin
software reflected a “successful” transaction even when this was not the case and Origin
personnel represented this indicated the claims had been properly presented to third party payors.
Plaintiffs did reasonably rely on these representations to their detriment.

43, On another occasion, during the term of this agreement, Plaintiffs received software
upgrades from Origin in order to be eligible for stipends related to the aforementioned
“meaningful use” incentives associated with the proper utilization of electronic health records.
Following this, according to Origin, everything was in place to receive the associated stipends so
long as Plaintiffs utilized its software in accordance with their instructions.

44, Despite acquiring Origin’s recommended software upgrade, Plaintiffs found several
errors relating to the same. For example, there were clear deficiencies in the smoking cessation
criteria. In response to Plaintiffs’ inquiry regarding why it had not been given its stipend for
having demonstrated “meaningful use” of electronic health records, Origin informed that
Plaintiffs needed a “meaningful use” webinar that was not scheduled until at or around January

25, 2012, well after Plaintiffs suffered damages. On one occasion, after Origin realized that it

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did not have the platform, as represented, that would allow Plaintiffs to receive reimbursements, |
it informed Plaintiffs that it would simply “take care of it” which meant that it would unilaterally
enter patient data for the purpose of reimbursement.

45. At or around the time of this webinar, Plaintiffs learned that there was a further
problem with the software. Based on a recommendation from Origin personnel, a 10 year
“submission history” report generated only $21.9 Million Dollars despite clinical visit numbers
which justified well in excess of $30-36 Million Dollars. When the numbers were re-run,
Origin’s software had been manipulated to run three different sets of numbers within a 36-hour
period-first, $21.9 Million Dollars; second $16 Million Dollars and finally $21.6 Million Dollars.

46. When Mr. Frank Riccio, a President of Origin Health Solutions LLC, was informed
of the severe software problem as well as the manipulation of different submission history
numbers, Mr. Riccio cavalierly responded that everything could be explained by referring to the
“Client Center”. Plaintiff, having never heard of the “Client Center” much less trained on it,
informed Riccio of the same, and he insisted Plaintiffs were lying.

47. Following complaints made to Origin, Plaintiffs witnessed further evidence of
Plaintiffs records and submission histories being manipulated by Origin. For example, Plaintiffs
learned of fraudulent recording of “client center’ histories just days after communications with
Mr. Riccio.

48. Only after being confronted with the clear evidence that nearly 1/3 of Plaintiffs
submitted claims never reached the intended Third Party Payors, and millions of dollars later, did
Origin make such admission (March 2012).

49. Still, in reliance of additional direct instructions from Origin personnel, there was no

receipt of “meaningful use” incentive payments until Plaintiffs deviated from Origin’s protocol.

 

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50. When Plaintiffs confronted Origin regarding the foregoing issues, Plaintiffs were met
with disregard, apathy, and provocation. Instead of making a good faith attempt to resolve the
issues described in this Complaint, Defendants purposely lied to Plaintiffs regarding how they
experienced significant shortfall of revenues caused by Origin’s services, software, and conduct.

51. Problems with Origin’s products and services were exacerbated by inadequate
training of employees and other intended users of the Origin software as the relevant Origin
employees lacked sufficient experience or knowledge to provide the necessary training or
address the problems encountered throughout Plaintiffs use of the software which often led to
representations to Plaintiffs that Origin’s software and services were not the cause of Plaintiffs’
damages.

52. As a result of Origin’s representations, software, and services, Plaintiffs’ employees
continued to “resubmit” bills that were never presented to the insurance companies or Third
Party Payors.

53. As a result of Origin’s representations, software, and services, Plaintiffs continued to
engage in a vicious cycle of borrowing from banks and friends to cover financial shortfalls that
should have been taken care of by income generated by the corporation as well as loose
personnel,

54. As aresult of Origin’s conduct, software and services, Plaintiffs were forced to turn
their attention away from the primary goal of seeing patients in order to focus on the damages
caused by Origin’s failure to perform according to their agreement, which also resulted in
Plaintiffs experiencing both economic and non-economic losses, including physical and

emotional distress.

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COUNT I- FRAUD

55. Plaintiffs incorporate by reference, as if fully set forth herein, the allegations set forth
in each preceding paragraph and further alleges as follows:

56. Origin representatives intentionally made false and misleading representations to
Plaintiffs regarding the characteristics and services associated with Origin software. Origin
made material representations to Plaintiffs personnel regarding the functional capacity of
Origin’s software and services just prior to both contracts and during the entire course of their
relationship. For example, Origin represented prior to and subsequent to both Agreements that
its software would fluidly interface with all of Plaintiffs existing software and hardware. In
doing so, Origin stated that once the system went “live,” Origin would timely address any
deficiencies in the system as they appeared so that Plaintiffs would not suffer any loss of
revenues as a result of utilizing their products and services due to its capacity to prevent such
problems; that Origin had significant experience with interventional pain medicine practices; that
the software and services that Plaintiffs ultimately purchased would and did have the capacity to
timely alert Plaintiffs and Origin to recapture claims improperly submitted to the insurance
company prior to loss of revenue; that tests had been performed ensuring claims that had never
been submitted to the insurance companies were rejected by the same; that “EMRge” had been
built by Origin although upon information and belief it had only been licensed by Origin, and
that claims labeled as “successfully transmitted” indicated that the claims were received by the
insurance company. Origin also ensured its billing sheets were accurate and were regularly
updated for inaccuracies.

57. Unbeknownst to Plaintiffs, Origin had advertised to Plaintiffs software and services

dissimilar from what Plaintiffs purchased.

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58. The representations mentioned directly above and elsewhere in this Complaint were
false when Origin made them in that the software and services were not remotely close to what
Origin had represented them to be under either agreement. As a result, Origin’s software and
services failed to allow for efficient and accurate processing of reimbursements or meet EHR
requirements under Agreements 1 or II, or timely receive reimbursements from the
Medicare/Medicaid Incentive Program payments under Agreement II while relying on Origin’s
support and services.

59. Origin knew the representations were false when it made them, or they made them
with reckless disregard for their truth or falsity, in that Origin knew or should have known the
software it sold to Plaintiffs did not meet EHR requirements, nor did it interface with
appropriately with Plaintiffs existing software or hardware prior to or during either agreement.
In addition, Origin was never positioned to correct the problems that it described, and prior to
Plaintiffs suffering losses as they asserted prior to either agreement. Furthermore, Origin
represented claims were successfully transmitted beyond just the exchange through its software
and its representations when this was untrue. Additionally, Origin knew or should have known
the representations it made to Plaintiffs were patently false in that Origin intended to, and did,
sell to Plaintiffs software and services that did not function nor have the capability to do so as
represented by Origin personnel.

60. Origin made the representations mentioned above with the intent and for the purpose
of deceiving Plaintiffs and to induce Plaintiffs into relying on the representations for Origin’s

own pecuniary benefit.

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61. As a proximate result of Origin’s aforementioned actions and representations,
Plaintiffs entered into both agreements, and reasonably relied on the aforementioned
representations.

62. As a direct and proximate result of the aforementioned actions and false and
misleading representations, Plaintiffs suffered substantial pecuniary loss including economic and
non-economic damages.

63. As a direct result of the aforementioned actions and false and misleading
representations, Plaintiff lost approximately $10 million in nonsubmitted claims.

64. As a direct result of the aforementioned actions and false and misleading
representations, Plaintiffs suffered lost profits associated with multiple business opportunities.
Such opportunities include partnership offer made for Twenty Thousand Dollars ($20,000) in
2010 to be a member of the Metrosurgery in Jeffersonville, Indiana. Upon information and
belief, the distribution of the shares produced Six Hundred Thousand Dollars ($600,000) in 2011
and is on pace to produce Eight Hundred Thousand Dollars ($800,000) in 2012. This investment
would continue as long as Dr. Alexander practiced pain medicine. But for the direct result of the
aforementioned actions and false and misleading representations, Plaintiff would have been a
partner of this group and as a result is expected to suffer damages which exceed $20 Million
Dollars related to this venture. But for the direct result of the aforementioned actions and false
and misleading representations, Plaintiff would have hired three Interventional Pain Medicine
Physicians in 2003, 2006, and 2010. Because Plaintiffs could not, Plaintiffs suffered a total loss
of $35 Million Dollars related to this lost opportunity. But for the direct result of the
aforementioned actions and false and misleading representations, Plaintiff had patent rights to a

porous Neurostimulator Lead and is expected to suffer an unknown loss related to this lost

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opportunity at this time but to be proven at trial. But for the direct result of the aforementioned
actions and false and misleading representations, Plaintiffs could not complete the Ambulatory
Surgery Center deal in 2005, or 2010 and is expected to suffer a $25 Million Dollar loss related
to this lost opportunity. But for the direct result of the aforementioned actions and false and
misleading representations, Plaintiffs could not complete the MRI center in 2003 or 2010, and
suffered a total loss of $21.6 Million Dollars related to this opportunity. °

65. That the foregoing misrepresentations were made willful and wantonly by Origin
personnel, and at a minimum, with heedless disregard of their consequences. Punitive damages
are therefore warranted to punish Origin and to deter them and others from engaging in similar
conduct.

WHEREFORE, Plaintiffs respectfully requests that Judgment be entered in their favor
and against Origin on Count I: (a) awarding Plaintiffs compensatory damages in excess of Ten
Million Dollars ($10,000,00) with the remainder to be proven at Trial; (b) for prejudgment
interest on the foregoing compensatory damages; (c) awarding Plaintiffs punitive damages in an
amount sufficient to punish Origin and to deter similar misconduct by them and by others; and,
(d) for such additional relief as the Court deems just and proper in the premises.

COUNT II - FRAUD IN THE INDUCEMENT

66. Plaintiffs incorporate by reference, as fully set forth herein, the allegations set forth
in each preceding paragraph and further alleges as follows:

67. Origin representatives intentionally made false and mislead representations to
Plaintiffs regarding the characteristics and services associated with Origin software. Origin
made material representations to Plaintiffs personnel regarding the functional capacity of

Origin’s software and services just prior to both contracts and during the entire course of their

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relationship. For example, Origin represented prior to and subsequent to both Agreements that
its software would fluidly interface with all of Plaintiffs’ existing software and hardware. In
doing so, Origin stated that once the system went “live,” Origin would timely address any
deficiencies in the system as they appeared so that Plaintiffs would not suffer any loss of
revenues as a result of utilizing their products and services; that Origin had significant
experience with interventional pain medicine practices; that the software and services that
Plaintiffs ultimately purchased would and did have the capacity to timely alert Plaintiffs and
Origin to recapture claims improperly submitted to the insurance companies prior to loss of
revenue; that tests had been performed ensuring claims that had never been submitted to the
insurance companies were rejected by the same; that EMRge had been built by Origin although
upon information and belief it had only been licensed by Origin, and that claims labeled as
“successfully transmitted” ensured that the claims were received by the insurance companies.
68. Unbeknownst to Plaintiffs, Origin had advertised to Plaintiffs software and services
dissimilar and inferior to that which Plaintiffs purchased.
69, Origin knew at the time it made these representations to Plaintiffs, that those
representations were false.
70. Origin made these representations for the purpose of inducing Plaintiffs to purchase
the Origin Software and services so they would enter into the Agreements (Agreements I and II).
71. Plaintiffs did not know that Origin’s representations were false and it did so
reasonably rely on those representations in deciding to switch and maintain Origin’s software

and services.

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72. Because Plaintiffs did not know that Origin’s representations were false and
misleading, Plaintiffs and Origin entered into two contracts (Agreements 1 and II), for the
purpose of Plaintiffs obtaining software Origin represented to have certain characteristics.

73. As a direct result of the aforementioned actions and false and misleading
representations, Plaintiff lost approximately $10 Million Dollars in nonsubmitted claims.

74. As a direct result of the aforementioned actions and false and misleading
representations, Plaintiffs suffered lost profits associated with multiple business opportunities.
Such opportunities include partnership offer made for Twenty Thousand Dollars ($20,000) in
2010 to be a member of the Metrosurgery in Jeffersonville, Indiana. Upon information and
belief, the distribution of the shares produced Six Hundred Thousand Dollars ($600,000) in 2011
and on pace to produce Eight Hundred Thousand Dollars ($800,000) in 2012. This investment
would continue as long as Dr. Alexander practiced pain medicine. But for the direct result of the
aforementioned actions and false and misleading representations, Plaintiff would have been a
partner of this group and as a result is expected to suffer damages which exceed Twenty Million
Dollars ($20,000,000) related to this venture. But for the direct result of the aforementioned
actions and false and misleading representations, Plaintiff would have hired three Interventional
Pain Medicine Physicians in 2003, 2006, and 2010. Because Plaintiffs could not, Plaintiffs
suffered a total loss of Thirty-Five Million Dollars ($35,000,000) related to this lost opportunity.
But for the direct result of the aforementioned actions and false and misleading representations,
Plaintiffs had patent rights to a porous Neurostimulator Lead and is expected to suffer an
unknown loss related to this lost opportunity at this time but to be proven at trial. But for the
direct result of the aforementioned actions and false and misleading representations, Plaintiffs

could not complete the Ambulatory Surgery Center deal in 2005, or 2010 and is expected to

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suffer a Twenty-Five Million Dollar ($25,000,000) loss related to this lost opportunity. But for
the direct result of the aforementioned actions and false and misleading representations,
Plaintiffs could not complete the MRI center in 2003 or 2010, and suffered a total loss of $21.6
Million Dollars related to this opportunity.

75. As a direct and proximate result of Origin’s misrepresentations, Plaintiffs have
suffered damages in an amount in excess of Ten Million Dollars ($10,000,000) in connection
with the utilization of the Origin software and support service.

76. Origin made the foregoing misrepresentations willfully and wantonly, and at a
minimum, with heedless disregard of their consequences. Punitive damages are therefore
warranted to punish Origin and to deter it and others from engaging in similar conduct.

WHEREFORE, Plaintiffs respectfully requests that Judgment be entered in their favor
and against Origin on Count II: (a) rescinding the Agreements (I and II) as written on the basis
of Origin’s fraudulent inducement of those agreements; (b) ordering Origin to restore to
Plaintiffs all monies paid by Origin in connection with the Agreements (I and II), plus interest;
(c) declaring that Origin nor Plaintiffs have any further rights or obligations under the now-
rescinded Agreements (Agreement I and JI); (d) awarding Plaintiffs compensatory in excess of
Ten Million Dollars ($10,000,000) with the remainder to be proven at Trial; (e) awarding
Plaintiffs punitive damages against Origin in an amount sufficient to punish it and deter similar
conduct by Origin and others; and, (f) for such additional relief as the Court deems just and
proper in the premises.

COUNT III - BREACH OF CONTRACT AGAINST ORIGIN
77. Plaintiffs incorporate by reference, as if fully set forth herein, the allegations in each

preceding paragraph and further alleges the following:

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78. Plaintiff fully performed under the contracts, or were excused by Origin’s material
breaches from performing all of its obligations under the Agreements (I and II).

79. Origin’s obligations under both contracts included, inter alia, unlimited monthly
telephone support during normal business hours, on-line support, daily system polling functions,
unlimited electronic claim submission to Medicare, BC/BS, Medicaid, and all payers with the
Envoy-NEIC9® Network as well as all standard software upgrades and enhancements.
Additionally, under both contracts, Origin represented to Plaintiffs that it would have software
with functionally capable features and characteristics and that the support services Plaintiffs
purchased would troubleshoot problems as they arose in such a way as to prevent Plaintiffs from
suffering losses attributable to software malfunctioning in the claims reimbursement process or
user error.

80. Origin breached the agreement under both contracts by failing to meet any of its
aforementioned obligations.

81. Origin further breached the Agreements (I and II) by failing to provide adequate
training for users and its own personnel in order to prevent either from failing to effectively
trouble shoot errors as they arose.

82. Both Agreements (I and II), carried an implied duty to provide its services in a
skillful, careful and workmanlike manner.

83. Origin materially breached both Agreements (I and II) by failing to provide
unlimited-toll free telephone support during normal business hours, on-line support, daily stem
polling functions, unlimited electronic claim submission to Medicare, BCBS, Medicaid, and all
payers with the Envoy-NEIC® network, as well as standard software upgrades and

enhancements in a skillful, careful, and workmanlike manner. For example, during the span of

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time which covered both Agreements (I and II), Plaintiffs made phone calls during normal
business hours which went unanswered. In addition, Plaintiffs were not provided adequate on-
line support and as a result often had to reurge the same issues to Origin. Similarly, daily system
polling functions did not occur, nor did Origin effectively perform the aforementioned upgrades
or unlimited electronic claim submission as promised.

84. Origin materially breached both Agreements (I and II) by failing to provide the
software as represented to Plaintiffs.

85. Origin materially breached both Agreements (I and ID, and upon information and
belief, it switched without notice from the Envoy-NEIC® Network to its own in-house network.

86. As a direct and proximate result of Origin’s material breaches of both Agreements (I
and IT), Plaintiffs have suffered damages in excess of Ten Million Dollars ($10,000,000) in
connection with the purchase and failed support of Origin’s software and services as well as
other consequential, punitive, and indirect damages to be proven at Trial.

WHEREFORE, Plaintiffs respectfully requests that Judgment be entered in its favor and
against Origin on Count If]: (a) awarding Plaintiffs compensatory damages in excess of Ten
Million Dollars ($10,000,000) with the remainder to be proven at Trial; (b) consequential and
indirect damages to be proven at Trial (c) for prejudgment interest on the foregoing
compensatory and consequential and indirect damages; and, (d) for such additional relief as the
Court deems just and proper in the premises.

COUNT IV —- BREACH OF CONTRACT/AIMPLIED DUTY OF GOOD FAITH AND
FAIR DEALING AGAINST ORIGIN

87. Plaintiffs hereby allege and adopt fully each every preceding paragraph as set forth

herein and alleges as follows:

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88. In addition to its express terms, the Parties Agreements (I and II), includes an
implied covenant of good faith and fair dealing.

89, The implied duty of good faith and fair dealing required Origin to make good faith
attempts in honoring its obligations yet it failed to do so.

90. In entering into both Agreements (I and IT) for the purchase of Origin software, and
support services, Origin breached its implied duty of good faith and fair dealing. For example,
during the course of both Agreements (I and II), Plaintiffs were misrepresented by Origin
personnel that there were no software or hardware “glitches” at play that could explain why the
accounts receivables did not match the clinical volume. Conversely, Origin routinely
misrepresented to Plaintiffs that the claims had been “successfully transmitted” to all of the
relevant payors even when this was inaccurate. During the course of the Agreements, unknown
to Plaintiffs, Origin had the capability of unilaterally altering the claims submission history data
and did in fact do so to Plaintiffs’ detriment.

91. Origin intentionally deceived Plaintiffs by making the foregoing representations.

92. Plaintiffs purchased Origin’s software and support which were a mere “shell” of
what Origin represented, and maintained such over several years based on the ongoing
misleading representations made by Origin.

93. As a direct and proximate result of Origin’s breach of the implied duty of good faith
and fair dealing under both Agreements (I and II), Plaintiffs suffered damages in excess of Ten
Million Dollars ($10,000,000) in connection with the purchase and failed support of Origin’s
software and services, as well as other consequential and indirect damages to be proven at Trial.

WHEREFORE, Plaintiffs respectfully requests that Judgment be entered in its favor and

against Origin on Count IV: (a) awarding Plaintiffs compensatory damages in excess of Ten

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Million Dollars ($10,000,000) with the remainder to be proven at Trial; (b) consequential and
indirect damages to be proven at Trial; (c) for prejudgment interest on the foregoing
compensatory and consequential and indirect damages; (d) punitive damages to punish and deter
others from similar conduct; and, (e) for such additional relief as the Court deems just and proper
in the premises.

COUNT V - UNJUST ENRICHMENT

94. Plaintiffs hereby allege and adopt fully each every preceding paragraph as set forth
herein and alleges as follows:

95. In connection with the Origin software and services described in this Complaint,
Plaintiffs paid Origin an amount to be proven at Trial.

96. Plaintiffs’ payments to Origin were a specific benefit conferred upon Origin.

97. The acceptance and retention by Origin of the benefit conferred on it were under
such circumstances that it would be inequitable for Origin to retain the benefit, because Origin
was unjustly enriched by Plaintiffs’ payments in connection with Origin’s software and services.

98. As a direct and proximate result of Origin’s conduct, Plaintiff's seeks reimbursement
in an amount to be proven at Trial.

WHEREFORE, Plaintiffs respectfully requests that Judgment be entered in its favor and
against Origin on Count V: (a) disgorging Defendant of ill-gotten gains; (b) for prejudgment
interest on the foregoing disgorgement; (c) punitive damages to punish and deter others from
similar conduct; and, (d) for such additional relief as the Court deems just and proper in the

premises.

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COUNT VI ~- BREACH OF WARRANTIES

99. Plaintiffs hereby allege and adopt fully each every preceding paragraph as set forth
herein and alleges as follows:

100. Defendant by and through the sale of the “SSIMED: Practice Manager and
Scheduler” and SSIMED “EMRge’”, and its components, to Plaintiffs, impliedly warranted that
the system and its components were fit for the purpose for which they intended. In purchasing
the system, Plaintiffs relied on Origin’s skill and judgment and the implied warranty of fitness
for the purpose which Plaintiffs purchased the product and its necessary components, to have a
paperless medical record system and efficient billing system to receive, inter alia,
reimbursements for Plaintiff's services. Contrary thereto, however, the electronic medical
records system to be provided under both agreements were not fit for its intended use.
Consequently, Origin’s breach of the electronic medical records system, and its components,
implied warranty of fitness is a proximate cause of Plaintiffs’ damages.

101. Origin also impliedly warranted that the electronic medical records system to be
provided under both agreements was of merchantable quality, fit, and in proper condition for the
ordinary use for which such systems, and its components were designed to be used for, as a
software system designed specifically for an interventional pain medicine specialist medical
practice and its healthcare provider. Plaintiffs purchased the electronic medical records system
(“Practice Manager” and “EMRge”) and other applications with said system, in reliance on
Origin’s implied warranty of merchantability. Contrary thereto, the electronic medical records
systems (“Practice Manager” and “EMRge”) were unfit and inoperable and not of merchantable
quality for Plaintiffs’ medical practice. Origin’s breach of the electronic medical records

system’s implied warranty of merchantability, is a proximate cause of Plaintiff’s damages.

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102. As a direct and proximate result of Origin’s breach of warranties, Plaintiffs’
suffered damages in an amount of Ten Million Dollars ($10,000,000) in connection with the
failure of Origin software and services, as well as other consequential and indirect damages to be
proven at Trial.

WHEREFORE, Plaintiffs respectfully requests that Judgment be entered in their favor
and against Origin on Count VI: (a) awarding Plaintiffs compensatory damages in excess of Ten
Million Dollars ($10,000,00) with the remainder to be proven at Trial; (b) for prejudgment
interest on the foregoing compensatory damages; and, (c) for such additional relief as the court
deems just and proper in the premises.

COUNT VI - FRAUDULENT MISREPRESENTATION

103. Plaintiffs hereby allege and adopt fully each and every preceding paragraph as set
forth herein and further alleges as follows:

104. Plaintiffs and Origin entered into a contract for the purpose of obtaining Origin
software and support services Origin represented to have certain characteristics, During the time
that Plaintiffs were engaged with Origin under both Agreements (I and II), Origin made material
misrepresentations to Plaintiffs regarding the functional capacity of the Origin software. For
example, Origin represented to Plaintiffs that the Origin software would fluidly interface with
Plaintiff's existing software/hardware. In addition, Origin advertised one product yet sold the
Plaintiffs another. In addition, when Plaintiffs called Origin personnel to discuss issues that it
was having regarding claims reimbursement, Origin represented that claims were properly
presented to various payors when in fact they were not throughout the course of the agreement
until the first quarter of 2012. Origin, also failed to disclose that it was never positioned to

resolve Plaintiff's technical issues as they arose. Origin, represented to Plaintiffs that Origin’s

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software was positioned to adequately handle the requirements for Plaintiffs to receive
Medicare/Medicaid reimbursements when this was untrue.

105. The representations mentioned above were false when Origin made then in that
Origin software and services Plaintiffs ultimately received were materially dissimilar from the
software Origin advertised to Plaintiffs. In addition, the software and support services under
both Agreements (I and II) completely failed to interface successfully with Plaintiff's existing
software and hardware, and more importantly, upon information and belief fails to meet EHR
requirements, and has failed to allow plaintiffs to obtain reimbursements for claims submitted to
payors. Following Agreement II, Origin represented Plaintiffs should have qualified for the
Medicare/Medicaid Incentive Program payments and initially failed to do so due to Origin’s
faulty software and support services.

106. Origin made the representations mentioned above with the intent and for the
purpose of deceiving Plaintiffs and to induce Plaintiffs to rely on the representations for Origin’s
own pecuniary benefit.

107. Plaintiffs were not only induced to enter into the Agreements (I and ID), they
continued the relationship with Origin and performed their duties in good faith based on their
reasonable reliance on the representations mentioned above.

108. As a direct and proximate result of the aforementioned actions and representations,
Plaintiffs suffered substantial pecuniary loss, to include economic and non-economic damages.

WHEREFORE, Plaintiffs respectfully requests that Judgment be entered in its favor and
against Origin on Count VII: (a) awarding Plaintiffs compensatory damages in excess of Ten
Million Dollars ($10,000,000) with the remainder to be proven at Trial; (b) consequential and

indirect damages with the remainder to be proven at Trial; (c) for prejudgment interest on the

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foregoing compensatory and consequential and indirect damages; (d) punitive damages to punish
and deter others from similar conduct; and, (e) for such additional relief as the Court deems just
and proper in the premises.

COUNT VIII - NEGLIGENT MISREPRESENTATION

109. Plaintiffs hereby allege and adopt fully each and every preceding paragraph as set
forth herein and further alleges as follows:

110. Plaintiffs and Origin entered into a contract for the purpose of obtaining Origin
software and support services Origin represented to have certain characteristics. During the time
that Plaintiffs were engaged with Origin under both Agreements (I and ID, Origin made
negligent material misrepresentations to Plaintiffs regarding the functional capacity of the Origin
software. For example, Origin represented to Plaintiffs that the Origin software would fluidly
interface with Plaintiff's existing software/hardware. In addition, Origin advertised one product
yet sold the Plaintiffs another. In addition, when Plaintiffs called Origin personnel to discuss
issues that it was having regarding claims reimbursement, Origin represented that claims were
properly presented to various payors when in fact they were not and this occurred throughout the
period of both agreements up until the first quarter of 2012. Origin, also failed to disclose that it
was never positioned to resolve Plaintiff’s technical issues as they arose. Origin, represented to
Plaintiffs that Origin’s software was positioned to adequately handle the requirements for
Plaintiffs to receive Medicare/Medicaid reimbursements when this was untrue.

111. The representations mentioned above were false when Origin made them in that
Origin software and services Plaintiffs ultimately received were materially dissimilar from the
software Origin advertised to Plaintiffs. In addition, the software and support services under

both Agreements (I and II) completely failed to interface successfully with Plaintiff's existing

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software and hardware, and more importantly, upon information and belief fails to meet EHR
requirements, and has failed to allow plaintiffs to obtain rermbursements for claims submitted to
payors. Following Agreement IT, Origin represented Plaintiffs should have qualified for the
Medicare/Medicaid Incentive Program payments and initially failed to do so due to Origin’s
faulty software and support services.

112, Origin made the representations mentioned above with carelessness and with no
reasonable basis that it is true in order to induce Plaintiffs to rely on the representations for
Origin’s own pecuniary benefit.

113. Plaintiffs were not only induced to enter into the Agreements (I and ID, they
continued the relationships with Origin and performed their duties in good faith based on their
reasonable reliance on the representations mentioned above. As a direct and proximate result of
the aforementioned actions and representations, Plaintiffs suffered substantial pecuniary loss, to
include economic and non-economic damages.

WHEREFORE, Plaintiffs respectfully requests that Judgment be entered in its favor and
against Origin on Count VIII: (a) awarding Plaintiffs compensatory damages in excess of Ten
Million Dollars ($10,000,000) with the remainder to be proven at Trial; (b) consequential and
indirect damages to be proven at Trial; (c) for prejudgment interest on the foregoing
compensatory and consequential and indirect damages; and, (d) for such additional relief as the
Court deems just and proper in the premises.

COUNT IX —- INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

114. Plaintiff, Dr. Alexander, hereby alleges and adopts fully each and every preceding

paragraph as set forth herein and further alleges as follows:

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115. The acts of of Origin mentioned herein were done willfully, maliciously,
outrageously, deliberately, and purposely with the intention to inflict emotional distress upon
Plaintiff. Such acts were done in reckless disregard of the probability of causing Dr. Alexander
emotional distress and said acts did in fact result in severe and extreme emotional distress.

116. During the course of Dr. Alexander’s relationship with Origin, Dr. Alexander and
his staff placed several phone calls to Origin seeking technical support, inter alia, for the failed
software. Based on the responses by Origin, Plaintiffs were deprived of Medicare incentive
payments or adequate reimbursements for the claims upon which they attempted to submit to
various payors. In addition, when confronted with direct evidence that Origin had deprived
Plaintiffs of such reimbursements, Origin senior management merely responded “that’s
unfortunate.” Origin made no further attempt to resolve Dr. Alexander’s issues. As such, Dr.
Alexander has been negatively affected both economically and non-economically including
physical and emotional suffering. Moreover, Dr. Alexander has been forced to allocated
resources including time and money to his economic and non-economic detriment.

117. As a direct and proximate result of Origin’s alleged acts, Dr. Alexander incurred
severe and grievous mental and emotional suffering and continues to suffer from such.

WHEREFORE, Plaintiffs respectfully requests that Judgment be entered in its favor and
against Origin on Count IX: (a) awarding Dr. Alexander an amount to be proven at Trial; (b) for
prejudgment interest on the foregoing compensatory; (c) punitive damages to punish and deter
others from similar conduct; and, (d) for such additional relief as the Court deems just and proper

in the premises.

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COUNT X - NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

118. Plaintiff Dr. Alexander, hereby alleges and adopts fully each and every preceding
paragraph as set forth herein and further alleges as follows:

119. The acts of Origin mentioned herein were those which Origin knew or should have
known that their actions would cause Dr. Alexander emotional distress and said acts did in fact
result in severe and extreme emotional distress.

120. During the course of Dr. Alexander’s relationship with Origin, Dr. Alexander and
his staff placed several phone calls to Origin seeking technical support, inter alia, for the failed
software. Based on the responses by Origin, Plaintiffs were deprived of Medicare incentive
payments or adequate reimbursements for the claims upon which they attempted to submit to
various payors. In addition, when confronted with direct evidence that Origin had deprived
Plaintiffs of such reimbursements, Origin senior management responded “that’s unfortunate”
while making no further attempt to resolve Dr, Alexander’s issues,

121. As a direct and proximate result of Origin’s alleged acts, Dr. Alexander incurred
severe and grievous mental and emotional suffering and continues to suffer from such.

WHEREFORE, Plaintiffs respectfully requests that judgment be entered in its favor and
against Origin on Count X: (a) awarding Plaintiffs’ an amount to be proven at trial; (b) for
prejudgment interest on the foregoing compensatory and consequential and indirect damages,
and, (c) for such additional relief as the Court deems just and proper under the circumstances.

COUNT XI - TORTIOUS INTERFERENCE WITH BUSINESS RELATIONS
122. Plaintiffs hereby allege and adopt fully each and every preceding paragraph as set

forth herein and further alleges as follows:

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123. The acts of Origin as described here were intentional and willful acts, were
calculated to cause damage to Plaintiffs in its lawful business, were done with the unlawful
purpose of causing damage and loss to Plaintiffs, and were done without right or justifiable cause
on the part of Origin.

124. As described herein, Origin intentionally and willfully committed tortuous acts
calculated to cause damage to Plaintiffs in its lawful business of providing out medical services
under both Agreements (I and IT), by promoting and continuing to represent software and support
services materially dissimilar to what Origin sold; and failing to provide adequate technical
support; and making false representations to Plaintiffs’ staff regarding Origin’s software
capabilities and support service capabilities.

125. As a direct and proximate result of the aforementioned actions and representations,
Plaintiffs suffered substantial pecuniary loss, to include economic and non-economic damages.

WHEREFORE, Plaintiffs respectfully request that Judgment be entered in its favor and
against Origin on Count XI: (a) awarding Plaintiffs’ an amount to be proven at Trial; (b) for
prejudgment interest on the foregoing compensatory and consequential and indirect damages; (c)
punitive damages to punish and deter others from similar conduct; and, (d) for such additional
relief as the Court deems just and proper in the premises.

COUNT XII - NEGLIGENCE

126. Plaintiffs hereby allege and adopt fully each and every preceding paragraph as set
forth herein and further alleges as follows:

127. Origin owed a duty to Plaintiffs, in performing the implementation of the software
and services pursuant to both Agreements, to exercise the ordinary degree of care expected of

electronic healthcare vendors who provide such to healthcare providers.

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128. Origin breached that duty of care to Plaintiffs by recommending that Plaintiffs
invest in the software and services pursuant to both agreements; representing that the Origin
software and services would serve Plaintiffs’ needs during the time frame covering both
Agreements; failing to advise that Origin did not possess the requisite implementation experience
or support experience to provide Plaintiffs the version of the Origin software and services
purchased by Plaintiffs under both Agreements. Providing a misleading impression of the level
of experience and qualifications of Origin to lead the implementation and support of the Origin
software and services under both Agreements. Failing to provide adequate project maintenance
and guidance; failing to effectively troubleshoot problems or escalate critical issues when they
were encountered; failing to properly test the Origin software and services through each phase of
implementation and/or following implementation; and failing to properly train users of the
Origin software and support services.

129. As a direct and proximate result of Origin’s negligence, Plaintiffs suffered damages
in an excess of Ten Million Dollars ($10,000,000) in connection with the failure of Origin
software and services, as well as other consequential and indirect damages to be proven at Trial.

WHEREFORE, Plaintiffs respectfully requests that Judgment be entered in their favor
against Origin on Count XII: awarding Plaintiffs compensatory and foreseeable damages in
excess of Ten Million Dollars ($10,000,000) with the remainder to be proven at Trial; (b) for
prejudgment interest on the foregoing compensatory damages; and, (c) for such additional relief
as the Court deems just and proper in the premises.

COUNT XII - VIOLATION OF THE LANHAM ACT
130. Plaintiffs hereby allege and adopt fully each and every proceeding as set forth

herein and further allege as follows:

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131. In its commercial internet advertising and promotion of “Practice Manager” and
“EMRge,” Origin made false and misleading descriptions and representations of fact to Plaintiffs
concerning the characteristics, specific application and design, and qualities of said products in
violation of the Lanham Act U.S.C. § 1125(a). For example, according to the website, “EMRge,
covers virtually all practice management and clinical tasks including: Registration, Billing,
Appointment scheduling, Collections, etc.” According to the website, it is a certified electronic
health record solution that enables the customer “to satisfy meaningful use requirements while
streamlining processes and saving time and money.” Origin provides “a team of experts with
specialty training who will work closely with you to make process and workflow

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recommendations resulting in increased efficiency and productivity;” “a significant reduction in

overhead expense”; “technology solutions that electronically review payor contracted rates and
flags underpayments, ensuring maximum timely reimbursement.” In addition, the website
indicates “we [Origin] achieve long-term accounts receivable stability by submitting timely,
clean claims. We immediately identify tardy and underpaid claims and provide extensive follow
up by our expert team as needed.”

132. The commercial misrepresentations made by Origin, had a direct impact on
Plaintiffs’ ability, or failure, to function and generate medical records and function as an efficient
and competent interventional pain medicine health care provider, and caused Plaintiffs extreme
difficulty in keeping its legal and mandatory medical record requirements of the State of Indiana
and the American Medical Association. Plaintiffs expended considerable expense and time

based on the commercial misrepresentations made by Origin in its marketing material and

instructions from its employees, and spent many hours working on the system to improve a

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program they promised and advertised was specifically designed for interventional pain medicine
specialist, which it is not.

133. Furthermore, Origin made promises to Plaintiffs and its customers while relying on
commercial misrepresentations. Plaintiffs suffered a loss of business reputation, significant time
attempting to work through the inherit problems in the software, and good will as a direct result
of Origin’s false and deceptive advertising.

134. As a direct and proximate result of Origin’s representations, conduct and actions,
Plaintiffs suffered damages in an amount in excess of Ten Million Dollars ($10,000,000).

WHEREFORE, Plaintiffs respectfully requests that Judgment be entered in their favor
and against Origin on Count XIII: (a) awarding Plaintiffs compensatory damages in excess of
Ten Million Dollars ($10,000,000) with the remainder to be proven at Trial; (b) for attorneys’
fees as allowed by Lanham Act U.S.C. §1117; (c) for disgorging of Defendant’s profits as
allowed by Lanham Act U.S.C. $1117, (d) for prejudgment interest on the foregoing
compensatory damages; and, (e) for such additional relief as the court deems just and proper in
the premises.

V. JURY DEMAND
Plaintiffs demand a Jury as to all issues and counts so triable.
Respectfully submitted,
RTS ISHOP
an. kor
Kenneth T. Roberts, Ind. Atty. No. 6099-49
Tasha R. Roberts, Ind. Atty. No. 22520-49
Adam Lenkowsky, Ind. Atty. No. 24277-49
Attorney for Plaintiffs Pain Center of SE Indiana,

LLC, Indiana Pain Medicine and Rehabilitation
Center, P.C.. and Anthony Alexander, M.D.

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